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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1                                   # 10423



                             United States District Court
                              SOUTHERN DISTRICT OF ALABAMA


        UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                      V.
        CARLA A. CORDIER
        a/k/a Carla Andrea Cordier                               CASE NUMBER: CR 09-00126-002
                                                                 USM NUMBER: 10684-003

                                                                   Neil L. Hanley
                                                                 Defendant's Attorney
THE DEFENDANT:
(x)     pleaded guilty to count(s) 16 of the Indictment on 7/15/09 .
()      pleaded nolo contendere to count(s)        which was accepted by the court.
()     was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty of the following offenses:
                                                                                  Date Offense         Count
Title & Section                Nature of Offense                                  Concluded            No.(s)
18 USC § 513(a)              Possession and/or Uttering a                          9/18/08              16
                             Counterfeit Security




      The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


()      The defendant has been found not guilty on count(s)               .
(x)     Count(s) 1 and 20 is/are dismissed on the motion of the United States.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant
shall notify the court and the United States attorney of any material change in the defendant's economic
circumstances.

                                                                11/6/09
                                                              Date of Imposition of Judgment


                                                               /s/ Kristi K. DuBose
                                                              UNITED STATES DISTRICT JUDGE

                                                               11/18/09
                                                              Date
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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 4 - Probation
Defendant: CARLA A. CORDIER
Case Number: CR 09-00126-002
                                                    PROBATION
The defendant is hereby placed on probation for a term of FIVE (5) YEARS as to Count 16.

SPECIAL CONDITIONS:
the defendant shall participate in a program of testing and treatment for drug and/or alcohol
abuse, as directed by the Probation Office; the defendant shall participate in a program of mental
health treatment and/or counseling, as directed by the Probation Office; the defendant shall make
restitution to Wal-Mart in the total amount of $1,969.84; to be paid jointly and severally with co-
defendants Ebony Tabb, CR 09-00126-003 and Wiley W. Wynn, CR 09-00126-001. Restitution is
due immediately and payable in full, and is to be paid through the Clerk, U.S. District Court. If
full restitution is not immediately paid, the Probation Office shall pursue collection of any balance
remaining, in installments to commence no later than 30 days after the date of sentencing. If
restitution is to be paid in installments, the Court orders that the defendant make at least
minimum monthly payments in the amount of $75; and, further orders that interest shall not
accrue on this indebtedness. The defendant is ordered to notify the Court of any material change
in the defendant’s ability to pay restitution; the Probation Office shall request the Court to amend
any payment schedule, if appropriate. The defendant is prohibited from making major
purchases, incurring new credit charges or opening additional lines of credit without approval of
the Probation Office, until such time as the financial obligations imposed by this order have been
satisfied in full; and, the defendant shall provide the Probation Office access to any requested
financial information. The defendant shall participate in the Home Confinement Program for a
period of 180 days, with electronic monitoring. During this time, the defendant shall remain at
her place of residence at all times and shall not leave except when such leave is approved in
advance by the Probation Office. The defendant shall maintain a telephone at her place of
residence without “call forwarding,” a modem, “caller I.D.,” “call waiting,” or portable cordless
telephones for the above period. At the direction of the Probation Office, the defendant shall wear
an electronic monitoring device or other location verification system and follow electronic
monitoring procedures as specified by the Probation Office. The Court does not order that the
defendant pay the costs associated with such monitoring.

For offenses committed on or after September 13, 1994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
        test within 15 days of placement on probation and at least two periodic drug tests thereafter, as directed by the
        probation officer.


(X)      The defendant shall not possess a firearm , destructive device, or any other dangerous weapon. (Check, if
applicable)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such
fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this
judgment.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court (as set forth below).
The defendant shall also comply with the additional conditions on the attached page (if applicable).
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                           STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
         five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,or
         other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the court;
13) as directed by the prob. officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant's compliance with such notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable, under the
         provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying offenses.
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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties
Defendant: CARLA A. CORDIER
Case Number: CR 09-00126-002
                           CRIMINAL MONETARY PENALTIES
       The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth on Sheet 5, Part B.

                                  Assessment                        Fine           Restitution
         Totals:                  $ 100.00                          $             $ 1,969.84

()       The determination of restitution is deferred until       . An Amended Judgment in a
         Criminal Case (AO 245C) will be entered after such a determination.

(x)       The defendant shall make restitution (including community restitution) to the following payees
         in the amounts listed below.


If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all nonfederal victims must be paid in full prior to the United States
receiving payment.

Name(s) and                       *Total                    Amount of                Priority Order or
Address(es) of Payee(s)           Amount of Loss            Restitution Ordered      % of Payment

Wal-Mart                                                   $ 1,969.84
Department R8090
P. O. Box 1125
Lowell, Arkansas

         TOTALS:                                            $ 1,969.84               $

()       If applicable, restitution amount ordered pursuant to plea agreement. $

()       The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f).
All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. §
3612(g).


(x)      The court determined that the defendant does not have the ability to pay interest and it is ordered
that:
     (x)     The interest requirement is waived for the       () fine and/or (x) restitution.
     * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18,
     United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments
Defendant: CARLA A. CORDIER
Case Number: CR 09-00126-002
                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be
due as follows:

    A        (x) Lump sum payment of $ 2,069.84 due immediately, balance due
             () not later than      , or () in accordance with () C, () D, () E or (x) F below; or
    B        () Payment to begin immediately (may be combined with () C, () D, () E or () F below);
             or
    C        () Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
             period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after the
             date of this judgment; or
    D        () Payment in         (e.g., equal, weekly, monthly, quarterly) installments of $        over a
             period of      (e.g., months or years), to commence           (e.g., 30 or 60 days) after
             release from imprisonment to a term of supervision; or
    E        () Payment during the term of supervised release will commence within        (e.g., 30 or 60
             days) after release from imprisonment. The court will set the payment plan based on an
             assessment of the defendant's ability to ay at that time; or
    F        (x) Special instructions regarding the payment of criminal monetary penalties:
                      See Sheet 4 - Probation (Special Conditions)

    Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
    imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
    period of imprisonment. All criminal monetary penalty payments, except those payments made
    through the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to
    the clerk of court, unless otherwise directed by the court, the probation officer, or the United States
    attorney.

    The defendant will receive credit for all payments previously made toward any criminal monetary penalties
    imposed.


    (x)      Joint and Several: co-defendants Ebony Tabb, CR 09-00126-003 and Wiley W. Wynn,
                            CR 09-00126-001.
    ()       The defendant shall pay the cost of prosecution.
    ()       The defendant shall pay the following court cost(s):
    ()      The defendant shall forfeit the defendant's interest in the following property to the United
          States:
Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4)
fine principal; (5) fine interest; (6) community restitution; (7) penalties; and (8) costs, including cost of prosecution
and court costs.
